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                                      December 20, 2024

VIA ECF:
Honorable Diane Gujarati
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


Re: Esteban Marquez v. Indian Taj, Inc. d/b/a Santoor Indian Restaurant, et. al
Civil Action Case No. 20-cv-5855


Your Honor:

       I represent Defendant Harminder Singh (“Defendant Harminder”) in the above-referenced

litigation. I am writing this letter pursuant to Your IndividuaRuletice Rules which require a request

for a pre-motion conference prior to the filing of a Rule 12(b), Rule 55, or Rule 56 motion.

According to the summons filed by Plaintiff, service of process was made to an address located at

257-05 Union Turnpike Glen Oaks, New York, 11004 which is where the Santoor Indian

Restaurant was located (“Restaurant”). However, Defendant Harminder— a former minority

shareholder— sold the entirety of his shares in August 2020 which was more than a year before

service was made on May 18, 2021 (Affidavit of service attached hereto). He was not served with

the complaint prior to the commencement of this lawsuit and only became aware of the action

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upon receiving notice of a garnishment. Pursuant to Fed. R. Civ. P. Rule 4, serving process upon a

defendant’s place of business is insufficient service of process in these circumstances. In this case,

service was wholly deficient as the Restaurant was not even a place of business for Defendant

Harminder at the time service was made.

       Defendant Harminder’s account has been garnished as a result of the default against

Defendant Harminder. Defendant Harminder shares this account with his wife who is a joint

account holder on the account and who has no involvement in this action. As the account holds the

only source of income between Defendant Harminder and his wife, time is of the essence and it is

respectfully requested that the Court schedule a pre-motion conference as soon as possible in order

to avoid the seizure of Defendant Harminder’s assets.

Thank you for your attention to this matter.




                                                      Respectfully submitted,

                                                      By: _____________________
                                                      Bhavleen Sabharwal
                                                      Law Office of Bhavleen Sabharwal, P.C.
                                                      Defendant Harminder Singh
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